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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                             ALBANY DIVISION

MYKERIA HARVEY,                         )
                                        )
      Plaintiff,                        )
                                        )     CIVIL ACTION NO.
v.                                      )
                                        )
LOADER EXPRESS, INC. and                )
COOPER TIRE & RUBBER                    )
COMPANY, INC.,                          )
                                        )     JURY TRIAL DEMANDED
      Defendants.                       )

                                   COMPLAINT

      COMES NOW Mykeria Harvey (“Harvey”), Plaintiff herein, and files this

Complaint against the above-named Defendants, Loader Express, Inc. (“Loader

Express”) and Cooper Tire & Rubber Company, Inc. (“Cooper Tire”)(collectively

referred to herein as “Defendants”) as follows:

Introduction

      This is a civil rights lawsuit seeking both compensatory and punitive

damages, plus attorney’s fees and the costs of litigation for the retaliation and

willful discrimination and retaliation on the basis of sex perpetrated by Defendants

herein through the conduct of Defendants against Plaintiff in violation of Title VII

of the Civil Rights Act of 1964 (“Title VII”), as well as Defendant’s common law

and statutory obligations to Plaintiff. Harvey seeks damages, pre-judgment
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interest, costs (including attorney’s fees), and equitable and declaratory relief to the

fullest extent allowed by law.

I.    THE PARTIES

1.    Plaintiff Mykeria Harvey is and at all times material hereto has been a

female citizen of the United States and a resident of Camilla, Georgia. Plaintiff

was an “employee” of Defendants as that term is defined under Title VII and

related applicable case law.

1.    Defendant Loader Express is a corporation based in Stone Mountain,

Georgia, which conducts business within this State and District and maintains its

principal place of business at 1173 Stephenson Rd., Stone Mountain, GA 30087.

Loader Express is a corporation specializing in temporary staffing. Loader

Express is subject to personal jurisdiction in the State of Georgia for purposes of

this lawsuit and can be served through its registered agent, Pieris Hodges at 1173

Stephenson Rd., Stone Mountain, GA 30087.

2.    Loader Express was and is an “employer” within the meaning of Title VII.

3.    Defendant Cooper Tire is a corporation based in Findlay, Ohio, which

conducts business within this State and District and maintains its principal place of

business at 701 Lima Avenue, Findlay, Ohio 45840. Cooper Tire is a corporation

specializing in tire manufacturing. Cooper Tire is subject to personal jurisdiction

in the State of Georgia for purposes of this lawsuit and can be served through its


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registered agent, CT Corporation System, 289 S Culver St, Lawrenceville, GA

30046-4805.

4.    Cooper Tire was and is an “employer” within the meaning of Title VII.

5.    Defendants jointly employed Plaintiff at Cooper Tire’s facility located at

330 Sylvester Road, Albany, Georgia 31705.

II.   JURISDICTION AND VENUE

6.    Plaintiff Harvey performed work for Defendants within the jurisdiction of

this Court. Plaintiff Harvey was terminated on or about July 1, 2021, filed Charges

of Discrimination with the Equal Employment Opportunity Commission

(“EEOC”) against Defendant Cooper Tire on July 9, 2021 and against Loader

Express on August 3, 2021, and received statutory notices of her right to sue from

EEOC on August 12, 2021. Harvey has thus satisfied the statutory condition

precedent set forth in Title VII for filing these claims with this Court.

2.    At all times material herein, Defendants have been authorized to conduct

business within the State of Georgia, have transacted business in the State of

Georgia, employed Plaintiff in the State of Georgia, and have regularly solicited

business and derived substantial revenue from goods used and/or services rendered

in the State of Georgia.

3.    Venue for this action is proper in this district and division pursuant to 28

U.S.C. § 1391 because Plaintiff resides in this judicial district, all of the and events


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and omissions giving rise to the claims herein occurred in this judicial district, and

the employment at issue and events giving rise to the claims herein occurred in this

district and division.

4.     This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331.

III.   FACTS SUPPORTING PLAINTIFF’S CLAIMS

5.     Plaintiff was hired as a scanner at Cooper Tires (through Loader Express,

Inc., an employment placement agency) on or about April 12, 2021. Plaintiff’s job

duties as a scanner consisted of scanning loads brought in by forklift drivers,

counting tires and confirming that the count was correct. Plaintiff also did some

payroll work.

6.     On April 14, 2021, a coworker called Plaintiff and told Plaintiff that her

supervisor, Willie Tucker, “liked me,” to which Plaintiff responded she was not

interested in a workplace relationship. Plaintiff was informed that Mr. Tucker had

spoken to another co-worker about potentially having sex with her. Plaintiff later

told Mr. Tucker that this was not appropriate, and Mr. Tucker told Plaintiff to

“leave the situation alone.”

7.     On April 23, 2021, another coworker, Rashard Sutton, told Plaintiff that her

hair looks nice. Plaintiff asked Sutton to leave her alone.




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8.    After that, a different coworker mentioned that he had heard Plaintiff was

having sex with a coworker. Plaintiff told him that she had not had sex with

anyone at Cooper Tires.

9.    On May 6, 2021, Mr. Tucker called Plaintiff upstairs to complete some

paperwork. He attempted to touch Plaintiff’s buttocks on this date, as he had done

previously. When Plaintiff and Tucker walked downstairs, he showed Plaintiff a

picture on his phone of him naked, standing in front of a mirror, holding his penis.

Plaintiff left and told another coworker what happened.

10.   On May 14, 2021, Mr. Tucker and Mr. Sutton got into an argument about

Plaintiff which concluded with Mr. Tucker stating “I have other hoes.”

11.   On May 25, 2021, as Plaintiff was going to the restroom, Mr. Tucker told

Plaintiff, “I bet that pussy pissy.”

12.   On June 7, 2021, after Plaintiff told Mr. Tucker that I was going to discuss

his behavior with “LB” Hodges, (Willie’s supervisor) the following day, Mr.

Tucker told Plaintiff not to come in the following day, and that he would have a

discussion with LB. Plaintiff told him that she intended to discuss sexual

harassment in the workplace with LB, after which Mr. Tucker stated that he would

“see me at work tomorrow.”

13.   On June 30, 2021, Plaintiff requested LB’s number from Mark [last name

unknown] because she had previously attempted to contact LB with no success.


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Plaintiff was given LB’s son’s email address, instead. LB’s son, Pierce [last name

unknown], called Plaintiff between 1:00-3:00 p.m. and Plaintiff told him

everything that she had been experiencing at Cooper Tire. Pierce told Plaintiff to

come back to work the following day (July 1). When Plaintiff arrived at work on

July 1, 2021, LB told Plaintiff that she was being terminated and to go home.

IV.    PLAINTIFF’S CLAIMS

Count One: Discrimination on the Basis of Sex in Violation of Title VII of the
           Civil Rights Act of 1964 (against both Defendants)

14.    During Plaintiff’s employment with Defendants, Defendants intentionally

treated Plaintiff differently and less favorably than similarly-situated male

employees, including, but not limited to, making lewd, sexually-charged comments

to, and committing and/or attempting to commit unwanted sexual touching of,

Plaintiff.

15.    At the time the above-referenced actions occurred, Ms. Harvey was female

and subject to the protections of Title VII.

16.    Defendants’ conduct in harassing Ms. Harvey on the basis of her sex

violated Ms. Harvey’s rights under Title VII of the Civil Rights Act of 1964, 42

U.S.C. 20003, et seq.

17.    Ms. Harvey has fulfilled all statutory requirements necessary to file a charge

of sex discrimination under Title VII.



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  Count Two: Retaliation in Violation of Title VII of the Civil Rights Act of
                      1964 (against both Defendants)

18.   Defendants’ conduct in harassing Ms. Harvey on the basis of her sex and

ultimately using Ms. Harvey’s sex and complaints about harassment as a

motivating factor in her termination violated Ms. Harvey’s rights under Title VII of

the Civil Rights Act of 1964, 42 U.S.C. 20003, et seq.

19.   Ms. Harvey has fulfilled all statutory requirements necessary to file a charge

of retaliation under Title VII.

Relief Sought

      Plaintiff Harvey seeks a judgment against Defendants granting Plaintiff

Harvey compensatory (including, but not limited to back pay, front pay, and loss of

benefits), statutory, exemplary and punitive damages, interest, liquidated damages,

attorneys’ fees, costs of litigation, and any and all additional relief as an empaneled

jury and this Court deem appropriate.

Conclusion

      WHEREFORE Plaintiff respectfully requests a trial by jury on all of

Plaintiff’s claims which are so triable, and that judgment be entered in Plaintiff’s

favor and against Defendants on all counts set forth above.

      Respectfully submitted this 19th day of August, 2021.


                              Tyler B. Kaspers
                              Tyler B. Kaspers, Ga. Bar No. 445708
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                  THE KASPERS FIRM, LLC
                  152 New Street, Suite 109B
                  Macon, GA 31201
                  404-944-3128 (Phone)
                  tyler@kaspersfirm.com




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